        Case 2:14-cv-03890-TJS Document 18-2 Filed 09/17/14 Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF PENNSYLVANIA

CATHERINE ROBERTS                               )
     AND                                        )
KRISTEN CLEMENTS                                )
                                                )
                      Plaintiffs,               )     Civil No.: 14-3890
              v.                                )
                                                )
CAESAR’S ENTERTAINMENT, INC.                    )     JURY TRIAL DEMANDED
D/B/A HARRAH’S PHILADELPHIA, et al.             )
                                                )
                      Defendants.               )


                                            ORDER

       AND NOW, this ________ day of ____________, 2014, it is hereby ORDERED and

DECREED upon consideration of Defendant, Pennsylvania State Trooper Joanne Dragotta’s,

Motion to Dismiss plaintiffs’ First Amended Complaint and plaintiffs’ response thereto, is

hereby GRANTED in part and DENIED in part as follows:

       1. Defendants' Motion to Dismiss is GRANTED as to Count IV of plaintiffs’ state claim

of malicious prosecution against Trooper Dragotta for malicious prosecution, as having been

withdrawn by plaintiffs.

       2. Defendants' Motion to Dismiss is DENIED as to Count I of plaintiffs’ § 1983 claims

against Trooper Dragotta for malicious prosecution.

                                            BY THE COURT,



                                            _________________________________
                                            TIMOTHY J. SAVAGE
                                            UNITED STATES DISTRICT JUDGE
